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       UNITED STATES DISTRICT COURT
                 NORTHERN DISTRICT OF FLORIDA
                     PENSACOLA DIVISION

 PEN AMERICAN CENTER,
 INC., ET AL.,

       Plaintiffs,

 V.                                   CASE NO. 3:23-cv-10385-TKW-ZCB

 ESCAMBIA COUNTY
 SCHOOL DISTRICT, ET AL.,

       Defendants.
 _____________________________/

                INITIAL SCHEDULING ORDER

       Rule 1 of the Federal Rules of Civil Procedure seeks a “just,

 speedy, and inexpensive determination of every action.” To accom-

 plish that purpose, and in accordance with Rule 16(b), it is

       ORDERED that:

       (1)   DISCOVERY PERIOD:

       (a)   The parties may begin discovery immediately, irre-

 spective of whether a motion to dismiss is filed. Any request to toll

 the deadlines in this Order pending disposition of the motion to

 dismiss shall be made by separate motion.




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       (b)   The deadline for completing discovery is October 2,

 2023. The conduct of any discovery which would require a later

 due date shall be permitted only on order of the Court.

       (c)   Extensions of the discovery deadline will ordinarily be

 granted only for good cause and upon showing of diligence during

 the initial discovery period. The filing of a motion to extend the

 discovery deadline does not operate to toll the discovery period or

 extend the discovery deadline.

       (d)   The parties shall make discovery requests no later

 than 75 days before the end of the discovery period. Unless other-

 wise ordered by the Court, motions to compel discovery are due no

 later than 30 days before the close of discovery. The Court will or-

 dinarily not entertain a motion to compel filed during the last 30

 days of the discovery period unless the movant shows reasonable

 diligence during the discovery period and the discovery dispute

 arose during the last 30 days of discovery.

       (2)   DISCLOSURE STATEMENTS.

      (a)    Within 14 days from the date of this Order or by the

 deadline established in Rule 7.1, whichever is sooner:

       (i)   each nongovernmental corporate party must file a

 statement that identifies any parent corporation and any publicly

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 held corporation that owns 10% or more of its stock or states that

 there is no such corporation; and

      (ii)   each party in an action based on the Court’s diversity

 jurisdiction under 28 U.S.C. §1332(a) must file a statement that

 names—and identifies the citizenship of—every individual or en-

 tity whose citizenship is attributable to that party.

      (b)    A supplemental statement must be promptly filed if any

 of the required information changes.

       (3)    RULE 26 REQUIREMENTS.

       (a)    RULE 26(F) CONFERENCE AND REPORT. Counsel of rec-

 ord and any unrepresented parties shall confer (personally, by

 phone, or electronically) within 30 days from the date of this Or-

 der, as required by Rule 26(f) and file a joint report of the confer-

 ence within 14 days thereafter. The plaintiff shall initiate ar-

 rangements for the conference and filing of the report, but the

 Court shall hold all parties equally responsible for ensuring that

 the conference is held and the report filed as required. If the par-

 ties are unable to agree, each party=s position shall be set out in

 the filed joint report. In addition to the matters set out in Rule

 26(f), the following shall also be discussed at the conference and

 specifically addressed in the joint report:

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         (i)   The matter of magistrate judge jurisdiction over the

 case. In accordance with Rule 73.1(A) of the Local Rules, the par-

 ties are directed to confer regarding their willingness to consent to

 magistrate judge jurisdiction, and the joint report should reflect

 this discussion. However, the joint report should state only that

 the parties have conferred regarding this issue. The parties may

 withhold consent if they so choose. Under no circumstances should

 the parties indicate their respective positions on the matter of con-

 sent in the joint report. If all parties, after conferring with one an-

 other, elect to consent to magistrate judge jurisdiction, the at-

 tached form of consent should be signed by all parties and filed in

 the Clerk=s office. It shall be plaintiff=s responsibility to forward

 the form to defendant(s), who, in turn, shall have the responsibility

 of filing the document. The form should be filed only if all parties

 have consented and signed the form. If any party elects not to con-

 sent, the form should not be returned.

         (ii) The nature and basis of all claims and defenses, and a

 good faith attempt to identify the principal factual and legal issues

 in dispute.

         (iii) The possibility for prompt settlement or resolution of

 the case, and whether mediation (or any other alternative dispute

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 resolution process) might be helpful in settlement, either now or

 after certain limited discovery has taken place.

        (iv) Proposed timetables and cutoff dates for the joinder of

 other parties, amendments to the pleadings, and the filing of mo-

 tions and responses, and whether this initial scheduling order

 should be revised or amended in any way.

        (v) The parties= respective discovery requirements in this

 case, and if the parties deem this initial scheduling order to be in-

 adequate, they shall develop an alternate proposal which specifi-

 cally addresses the timing and form of discovery, whether discov-

 ery should be conducted in phases or limited in any respect, and

 what, if any, changes should be made in the discovery procedures

 and time deadlines set out in this initial scheduling order, or in the

 applicable rules.

        (vi) Whether any party will likely request or produce in-

 formation from electronic or computer-based media:

          1. whether disclosure or production will be limited to

 data reasonably available to the parties in the ordinary course of

 business. Absent a showing of good cause, the Court will not re-

 quire the production of back-up or historic legacy data, nor will it



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 require the production of data that is not reasonably available in

 the ordinary course of business in reasonably usable form;

          2. if data beyond what is reasonably available to the par-

 ties in the ordinary course of business is to be sought, the antici-

 pated scope, cost and time required for its disclosure or production,

 and who will bear the cost;

          3. the format and media agreed to by the parties for the

 production of any electronic or computer-based data, as well as

 agreed procedures for such production;

          4. whether reasonable measures have been taken to pre-

 serve potentially discoverable data from alteration or destruction

 in the ordinary course of business or otherwise;

          5. procedures to deal with inadvertent production of priv-

 ileged information; and

          6. other problems which the parties anticipate may arise

 in connection with electronic or computer-based discovery.

       (vii) A good faith estimate as to when the parties believe

 the case will be ready for trial (month and year), how many days

 will be needed for trial, and whether it will be a jury or bench

 trial. The Court typically does not set the trial date until after



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 ruling on motions for summary judgment or other potentially dis-

 positive motions, but this information is still helpful to the Court

 for planning purposes.

        (viii) Any other matters which the parties deem appropri-

 ate with regard to specific aspects or the uniqueness of this case,

 and including any applicable subject within Rule 16(c).

        (ix) Whether this case should be made subject to the Man-

 ual for Complex Litigation.

       (b)   INITIAL DISCLOSURES. The initial disclosures required

 by Rule 26(a)(1) shall be provided, without awaiting a discovery

 request, to all other parties within 14 days from the date of the

 parties= Rule 26(f) conference, unless the parties agree to a differ-

 ent time

       (c)   EXPERT DISCLOSURES. Rule 26(a)(2) disclosures of ex-

 pert witnesses and their opinions shall be made by the plaintiff

 within 60 days from the date of this Order, and by the defendant

 or defendants within 30 days thereafter. Third parties or parties

 added or joined later shall disclose their experts under Rule

 26(a)(2) within 60 days after appearance in this case, or within 30

 days after the disclosure by the opposing party, whichever is the

 longer period. Rebuttal expert reports are due within the time set

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 by Rule 26(a)(2)(d)(ii). Expert witnesses not timely disclosed as re-

 quired by Rule 26(a)(2), or whose opinions have been significantly

 modified or changed after discovery has ended, will normally not

 be permitted to testify at trial.

       (d)    PRETRIAL DISCLOSURES. The Court will enter an order

 after the completion of discovery or after ruling on any motions for

 summary judgment which will establish deadlines for the dis-

 clousres under Rule 26(a)(3) and other pre-trial disclosure and

 trial preparation requirements.

       (e)    SUPPLEMENTAL DISCLOSURES. Supplemental disclo-

 sures under Rule 26(e) shall be made as soon as practicable after

 learing of the need to supplement so as not to prejudice the oppos-

 ing party or delay the case.

        (4)   FINAL SCHEDULING ORDER. Upon consideration of

 the parties= joint report, the Court will either set the case for a Rule

 16 scheduling conference or enter a final scheduling order that

 modifies or confirms the requirements of this Order. If the Court

 takes no action within 14 days from the filing of the joint report,

 this initial scheduling order will continue in full force and effect

 until some further order of this Court.



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       (5)     OTHER DEADLINES.

       (a)     Motions to join additional parties or amend the plead-

 ings shall be filed no later 30 days after the parties’ Rule 26(f)

 conference.

       (b)     Motions for summary judgment and Daubert motions

 shall be filed no later than 21 days after the close of discovery.

       (6)     ATTORNEYS= DISCOVERY OBLIGATIONS. If an attor-

 ney cannot respond to a discovery request within the time allowed

 by the Rules of Civil Procedure, this fact should be communicated

 by the most expeditious means to opposing counsel; and if consent

 to an extension of time cannot be obtained, a motion requesting an

 extension should be immediately filed. In the meantime, no mo-

 tion to compel a response shall be filed. The parties may (and are

 encouraged to) stipulate to reasonalbe requests for extensions of

 time, subject to the provisions of Local Rule 6.1.

       (7)     RESOLUTION OF DISCOVERY DISPUTES.

       (a)     The Court typically refers discovery disputes to the as-

 signed magistrate judge for disposition.

       (b)     Counsel should attempt to resolve discovery controver-

 sies without the Court’s intervention. The Court will entertain a

 motion with respect to matters which remain in controversy only

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 if, after consultation and sincere attempts to resolve differences,

 counsel are unable to reach an accord. Any motion filed shall in-

 clude certification that such attempts have been made, in accord-

 ance with Rule 37 and Local Rule 7.1(B) and (C), and and shall be

 in the form required by Local Rule 26.2(g)(3).

       (c)   Pursuant to Rule 37, the Court will ordinarily award

 counsel fees for time spent in filing (and arguing) a motion to com-

 pel if such a motion is necessary to make the recalcitrant party

 respond, or for time spent in opposing (and arguing) such a motion

 that is found to be unnecessary or without basis. Certification of

 all discovery requests, responses, and objections is required under

 Rule 26(g), and violations thereof will be subject to sanctions.

       (8)   SUMMARY JUDGMENT.

       (a)   In addition to complying with the requirements of Lo-

 cal Rule 56.1, the parties shall:

       (i)    File a separate notice listing the exhibits filed in sup-

 port of or in opposition to summary judgment. The exhibits shall

 be included as attachments to the notice on CM/ECF. Exhibits

 that cannot be filed on CM/ECF must be submitted to the Clerk

 along with a hard-copy notice of filing.



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         (ii)    Provide pin-cites for all factual assertions in the mo-

 tion or memoranda, using the CM/ECF document and page num-

 bers.

         (iii)   If technologically feasible, highlight the portion of the

 exhibit it wishes this Court to consider, and file deposition tran-

 scripts in a form where the text of the testimony is searchable with

 the control-F function.

         (b)     The parties shall not file condensed (e.g., 4 page to 1

 page) deposition transcripts.

         (c)     Exhibits shall be referred to in the summary judg-

 ment filings by the CM/ECF attachment number, not exhibit num-

 bers that may have been used in discovery.

         (9)     FILING OF RULE 26 DISCLOSURES AND DISCOVERY

 MATERIALS.

         (a)     In accordance with Rule 5(d), the parties shall serve

 but shall not file with the Clerk copies of discovery materials

 (including notices of deposition, deposition transcripts, interroga-

 tories, responses to interrogatories, production requests, responses

 to production requests, admissions requests, or responses to ad-

 missions requests), unless and until needed for consideration of

 pending motions by the Court.

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       (b)   The parties need not serve and shall not file with

 the Clerk separate notices of serving interrogatories or interrog-

 atory responses, notices of serving production requests or re-

 sponses, or notices of serving admissions requests or responses.

       (c)   The parties shall file the Rule 26(a)(1) and (a)(2) dis-

 closures (without any attachments), and any supplements to those

 disclosures, no later than 7 days from the date the disclosure is

 served on the opposing party. Any supplemental disclosure must

 reflect the changes in bold or by highlight.

       (10) ELECTRONIC FILING. Each party represented by an

 attorney is required to file documents electronically, not in paper

 form, with limited exceptions. Compliance with this requirement

 is mandatory. Paper filings are a burden on the Clerk of the Court,

 delay the transmission of the documents to the judge, and waste

 the judge=s time. Whenever a party files an amended paper, e.g.,

 an amended motion to dismiss, the amended paper must clearly

 state at the outset the nature of the amendment and the reason for

 it.

       (11) AMENDMENTS. This order may be amended by the

 Court on its own motion or upon motion of any party.



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       DONE and ORDERED this 30th day of May, 2023.


                         T. Kent Wetherell, II
                        T. KENT WETHERELL, II
                        UNITED STATES DISTRICT JUDGE




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      FLN Form 85 (rev. 8/98) Notice, Consent, and Order of Reference - Exercise of Jurisdiction by a United States Magistrate Judge


                                      UNITED STATES DISTRICT COURT
                                      NORTHERN DISTRICT OF FLORIDA
                                           PENSACOLA DIVISION
PEN AMERICAN CENTER, INC.,
ET AL.,

         Plaintiffs,
V.                                                     CASE NO. 3:23-cv-10385-TKW-ZCB
ESCAMBIA COUNTY SCHOOL
DISTRICT, ET AL.,

         Defendants.
__________________________/

            NOTICE OF AVAILABILITY OF A UNITED STATES MAGISTRATE JUDGE
                             TO EXERCISE JURISDICTION

         In accordance with the provisions of 28 U.S.C. '636(c), and Fed.R.Civ.P. 73, you are notified that a
United States magistrate judge of this district court is available to conduct any or all proceedings in this case in-
cluding a jury or nonjury trial, and to order the entry of a final judgment. Exercise of this jurisdiction by a magis-
trate judge is, however, permitted only if all parties voluntarily consent.

         You may, without adverse substantive consequences, withhold your consent, but this will prevent the
court=s jurisdiction from being exercised by a magistrate judge. If any party withholds consent, the identity of the
parties consenting or withholding consent will not be communicated to any magistrate judge or to the district judge
to whom the case has been assigned.

         An appeal from a judgment entered by a magistrate judge shall be taken directly to the United States
court of appeals for this judicial circuit in the same manner as an appeal from any other judgment of this district
court.

      CONSENT TO THE EXERCISE OF JURISDICTION BY A UNITED STATES MAGISTRATE JUDGE

        In accordance with provisions of 28 U.S.C. '636(c) and Fed.R.Civ.P. 73, the parties in this case consent
to have a United States magistrate judge conduct any and all proceedings in this case, including the trial, order
the entry of a final judgment, and conduct all post-judgment proceedings.

     Party Represented                                   Signatures                                        Date
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     FLN Form 85 (rev. 8/98) Notice, Consent, and Order of Reference - Exercise of Jurisdiction by a United States Magistrate Judge

                                                   ORDER OF REFERENCE

        IT IS ORDERED that this case be referred to                                                     ,
United States Magistrate Judge, to conduct all proceedings and order the entry of judgment in accordance with 28
U.S.C. '636(c), Fed.R.Civ.P. 73, and the foregoing consent of the parties.


                      Date                                    United States District Judge
NOTE: RETURN THIS FORM TO THE CLERK OF THE COURT ONLY IF ALL PARTIES HAVE CONSENTED ON THIS
      FORM TO THE EXERCISE OF JURISDICTION BY A UNITED STATES MAGISTRATE JUDGE.
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      FLN Form 85 (rev. 8/98) Notice, Consent, and Order of Reference - Exercise of Jurisdiction by a United States Magistrate Judge


                            NOTICE OF RIGHT TO CONSENT TO DISPOSITION OF
                           CIVIL CASE BY A UNITED STATES MAGISTRATE JUDGE

         Under 28 U.S.C. ' 636(c)(1), full-time magistrate judges are authorized to exercise civil jurisdiction, in-
cluding trial of the case and entry of final judgment, upon consent of the parties. Due to the district courts= heavy
trial schedules, such consent to magistrate jurisdiction often results in more expeditious resolution of cases. The
parties are, of course, entirely free to withhold such consent without any adverse consequences.

        In all civil cases, other than prisoner litigation and social security appeals, the parties shall be required
pursuant to the Initial Scheduling Order to confer regarding the matter of magistrate judge jurisdiction. However,
the Joint Report should state only that the parties have conferred regarding this issue. Under no circumstances
should the parties indicate their respective positions on the matter of consent in the Joint Report.

           Should all parties, after conferring with one another, elect to consent to magistrate judge jurisdiction, the
attached form of consent should be signed by all parties and returned to the court. It shall be plaintiff=s responsi-
bility to forward the form to defendant(s), who, in turn, shall have the responsibility of filing the document with the
court through the clerk=s office. The form should be returned to the court only if all parties have consented and
signed the form. Should any party elect not to consent, the form should not be returned.

          In prisoner litigation and social security appeals, and any other case in which an Initial Scheduling Order
is not entered, the clerk shall, after the first responsive pleading is filed, send a consent form to the plaintiff. If the
plaintiff elects to consent, plaintiff shall sign the form and promptly send it to defendant(s). If defendant(s) also
consents and signs the form, defendant(s) shall promptly return the form to the court. Should any party elect
not to consent, the form should not be returned.

         A party=s decision to consent, or not to consent, to the disposition of the case before a United States Mag-
istrate Judge is entirely voluntary, and no judge of this court will be informed of a party=s decision to withhold con-
sent. By returning the consent form only in cases where all parties consent, the court will not be aware of which
party withheld consent. Where the consent form is not returned to the court during the early stages of the case,
either the district court judge or magistrate judge may again advise the parties of the availability of the magistrate
judge, but in doing so, shall also advise the parties that they are free to withhold consent without adverse conse-
quences.

         Please note that in the event of consent, the parties may appeal a final judgment from the magistrate di-
rectly to the court of appeals in the same manner as an appeal from any other judgment of the district court.
